Case 21-14516-EPK Doc49 Filed 12/22/21 Pagelof3
UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

www. fisb.uscourts.gov
CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

 

| Original Plan
| Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
[m] 2nd Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Oralia Delgado JOINT DEBTOR: CASE NO.: 21-14516-EPK
SS#: xxx-xx- 6712 SS#: xxx-xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a

partial payment or no payment at all to the secured creditor [] Included [m] Not included

 

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set

out in Section IIT L_] Included [m] Not included

 

 

 

 

Nonstandard provisions, set out in Section IX [_] Included [m] Not included

 

 

II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

1. $1,484.85 formonths 1 to _7_;
2. $2,690.47 formonths 8 to 12 ;
3. $2,567.54 formonths_13 to 60 _;
B. DEBTOR(S)' ATTORNEY'S FEE: []NONE- [|] PROBONO
Total Fees: $7,775.00 Total Paid: $2,260.00 Balance Due: $5,515.00
Payable $472.85 /month (Months 1 to 7 )
Payable $441.00 /month (Months 8 to 12 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
Base Fee $4,500.00 + Base Costs $150.00 + MMM Fee $2,500.00 + MMM Costs $100.00 + Motion to Mod $500.00 + Motion to Mod
Cost = Total $7,775.00

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
Til. TREATMENT OF SECURED CLAIMS [_] NONE

A. SECURED CLAIMS: [|] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

1. Creditor: Selene Finance LP

 

 

 

 

 

Address: 9990 Richmond Ave., Arrearage/ Payoff on Petition Date
Dent 400 South Attn: BK MMM Adequate Protection $979.83 /month(Months 1 to 7_)
Houston, TX 77042 MMM TPP Temporary Payment $2,004.88 /month (Months 8 to 60 )

 

 

LF-31 (rev. 06/04/21) Page 1 of 3

 

 
VI.
Vil.

Vill.

Case 21-14516-EPK

Doc 49 Filed 12/22/21 Page 2 of 3
Debtor(s): Oralia Delgado Case number: 21-14516-EPK

 

 

Last 4 Digits of
Account No.: 2096

Other: TPP Starting January, 2022.

 

[m] Real Property
[m|Principal Residence

[Other Real Property

Address of Collateral:
20105 SW 114th Ct., Miami, FL 33189

[_] Personal Property/Vehicle

 

Description of Collateral:

Check one below for Real Property:
[m] Escrow is included in the regular payments

[|The debtor(s) will pay [_|taxes [_]insurance directly

 

 

B. VALUATION OF COLLATERAL: [|] NONE

C. LIEN AVOIDANCE [mg] NONE

D. SURRENDER OF COLLATERAL: [| NONE

 

E. DIRECT PAYMENTS [] NONE

Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution fom the Chapter 13 Trustee.
[m| The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)

' Regional Acceptance Co 8401

2013 Nissan Rigue

 

TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)] [[] NONE
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [li] NONE

B. INTERNAL REVENUE SERVICE: [mi] NONE

C. DOMESTIC SUPPORT OBLIGATION(S): [i] NONE

 

D. OTHER: [mi] NONE

TREATMENT OF UNSECURED NONPRIORITY CREDITORS |] NONE
A. Pay $329.25 /month (Months 13 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. |g] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: [mi] NONE

STUDENT LOAN PROGRAM. [mi] NONE

EXECUTORY CONTRACTS AND UNEXPIRED LEASES [m] NONE
INCOME TAX RETURNS AND REFUNDS: [mg] NONE
NON-STANDARD PLAN PROVISIONS [m] NONE

LF-31 (rev. 06/04/21)

Page 2 of 3

 
Case 21-14516-EPK Doc 49 _ Filed 12/22/21 Page3of3
Debtor(s): Oralia Delgado Case number: 21-14516-EPK

 

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

/s/ Oralia Delgado Debtor December 22, 2021 Joint Debtor
Oralia Delgado Date Date
/s/ Christina A. Fiallo, Esq. December 22, 2021

Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

LF-31 (rev. 06/04/21) Page 3 of 3
